           Case 3:17-cv-00399-JAM Document 33 Filed 05/08/17 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

GORSS MOTELS, INC., a Connecticut                )
corporation, individually and as the             )
representative of a class of similarly-          )
situated persons,                                )
                                                 )
                      Plaintiff,                 )
                                                 )     Civil Action No. 3:17-cv-00399
               v.                                )
                                                 )    CLASS ACTION
WILLIAMS & WILLIAMS MARKETING                    )
SERVICES, INC., an Oklahoma corporation,         )
WILLIAMS, WILLIAMS & MCKISSICK,                  )
LLC, an Oklahoma limited liability company,      )
WLLIAMS, WILLIAMS & MCKISSICK                    )
AUCTION SERVICES, LLC, an Oklahoma               )
limited liability company, and JOHN              )
DOES 1-5,                                        )
                                                 )
                      Defendants.                )

                           NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) Plaintiff in this action, Gorss

Motels Inc., by and through its undersigned counsel, hereby dismisses its individual claims in this

action with prejudice, and dismisses the class allegations without prejudice.

                                             Respectfully submitted,

                                             s/ Brian J. Wanca
                                             Brian J. Wanca - ct19532
                                             ANDERSON + WANCA
                                             3701 Algonquin Road, Suite 500
                                             Rolling Meadows, IL 60008
                                             Telephone: 847-368-1500 / Facsimile: 847-368-1501
                                             bwanca@andersonwanca.com

                                             and:
           Case 3:17-cv-00399-JAM Document 33 Filed 05/08/17 Page 2 of 2



                                              Aytan Y. Bellin ct28454
                                              BELLIN & ASSOCIATES LLC
                                              85 Miles Avenue
                                              White Plaines, NY 10606
                                              Phone: 914-358-5345 / Fax: 212-571-0284
                                              Aytan.Bellin@bellinlaw.com




                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 8, 2017, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system which will send notification of such filing to all attorneys of
record.

                                                      s/ Brian J. Wanca




                                                  2
